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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                      PIKEVILLE

 UNITED STATES OF AMERICA,                        )
                                                  )
       Plaintiff,                                 )          No. 7:19-CR-16-REW-EBA
                                                  )
 v.                                               )
                                                  )                     ORDER
 MICHAEL SLONE,                                   )

        Defendant.
                                        *** *** *** ***

       This matter is before the Court on the Recommended Disposition (DE 95) of United States

Magistrate Judge Edward B. Atkins, addressing Defendant Michael Slone’s guilty plea as to Count

One of the Indictment (DE 1). DE 92 (Minutes). Defendant appeared before Judge Atkins on

February 3, 2020. Id. After consenting to plead before a United States Magistrate Judge (DE 93)

and engaging in the full colloquy required by Rule 11, he proceeded to plead guilty. DE 95. Judge

Atkins found Defendant competent to plead and that Defendant did so in a knowing and voluntary

fashion; he further found that an adequate factual basis supported the plea as to each essential

element of the charged offense. Id. Accordingly, Judge Atkins recommended that the Court accept

Defendant’s plea and adjudge him guilty of the offense charged in Count One of the Indictment.

Id.

       Defendant had three days within which to object to Judge Atkins’s recommendation, and

he has not done so. Nor has the United States objected. While this Court reviews de novo those

portions of a Recommended Disposition to which a party objects, see 28 U.S.C. § 636(b)(1), it is

not required to “review . . . a magistrate[] [judge’s] factual or legal conclusions, under a de novo

or any other standard, when neither party objects to those findings.” Thomas v. Arn, 106 S. Ct.


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466, 472 (1985). Where the parties do not object to the Magistrate Judge’s recommended

disposition, they waive any right to review. See Fed. R. Crim. P. 59(b); United States v. White, 874

F.3d 490, 495 (6th Cir. 2017) (“When a party . . . fails to lodge a specific objection to a particular

aspect of a magistrate judge’s report and recommendation, we consider that issue forfeited on

appeal.”); see also United States v. Branch, 537 F.3d 582, 587 (6th Cir. 2008) (noting that “[t]he

law in this Circuit is clear” that a party who fails to object to a magistrate judge’s recommendation

forfeits his right to appeal its adoption).

        The Court thus ADOPTS the Recommended Disposition (DE 95), accepts the plea, and

ADJUDGES Michael Slone guilty of Count One of the Indictment. The Court further CANCELS

the jury trial as to this Defendant. An Order scheduling sentencing follows. Defendant remains

detained per prior Orders.

        This the 7th day of February, 2020.




                                                    2
